                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                              Plaintiff,        )
                                                )
       v.                                       )
                                                )   CASE NO. 07-00252-013-CR-W-NKL
VINCENT OGEGA,                                  )
                                                )
                              Defendant.        )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer, to which no objection has been filed, the plea of guilty to Count 8 of the Indictment is

now accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent

order of the court.


                                                     s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Kansas City, Missouri
May 6, 2008




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